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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

  

 

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‘ 17CV4179 (DLC)
UNITED STATES SECURITIES AND EXCHANGE 2
COMMISSION, 2 NOTICE OF INITIAL
Plaintiff, 2 PRETRIAL CONFERENCE
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ALPINE SECURITIES CORPORATION, qmq(“r ,Mrm
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Defendant. .F§F%
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DENISE COTE, District Judge:

This case has been assigned to me for all purposes. By the
date of the pretrial conference counsel for all parties are
required to register as filing users in accordance with the
Procedures for Electronic Case Filing.

Counsel for all parties are directed to appear for an
initial pretrial conference with the Court, at the time and place
listed below. Counsel are directed to confer with each other
prior to the conference regarding settlement and each of the
other subjects to be considered at Fed.R.Civ.P. 16 conference,
and to prepare a detailed written proposed schedule for any
motions and discovery. Prior to the date of the conferencer all
parties must send the Court one copy of all pleadings.

If this case has been settled or otherwise terminated,
counsel are not required to appear, provided that a stipulation
of discontinuance, Voluntary dismissal, or other proof of
termination is sent prior to the date of the conference via e-
mail to the Orders and Judgments Clerk at the following e-mail
address: judgments@nysd.uscourts.gov.

 

All conferences with the Court are scheduled for a specific
time; there is no other matter scheduled for that time; and
counsel are directed to appear promptly. All pretrial
conferences must be attended by the attorney who Will serve as
principal trial counsel.

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Requests for adjournment shall be made no later than two
business days before the conference and shall be made in a letter
filed on ECF in accordance with the S.D.N.Y. “Electronic Case
Filing Rules and Instructions.” The written submission must (a)
specify the reasons for the adjournment, (b) state whether the
other parties have consented, and (c) indicate times and dates on
succeeding Fridays when all counsel are available. Unless
counsel are notified that the conference has been adjourned it
will be held as scheduled.

§Qg ARE DIRECTED (i) TO SO NOTIFY ALL ATTORNEYS IN TH§S
ACTION BY SERVING UPON EACH OF THEM A COPY OF THIS NOTICE AND THE
COURT'S INDIVIDUAL PRACTICES FORTHWITH, AND (ii) TO FILE PROOF OF
SUCH NOTlCE WITH THE COURT. IF YOU ARE UNAWARE OF THE IDENTITY
OF COUNSEL FOR ANY OF THE PART§ES, YOU MUST FORTHWITH SEND A COPY
OF THE NOTICE AND PRACTICES TO THAT PARTY PERSONALLY.

DATE AND PLACE OF CONFERENCE: SEPTEMBER 8, 2017 AT
11:30 A.M. IN COURTROOM 15B AT THE UNITED STATES COURTHOUSE, 500
PEARL STREET, NEW YORK, NEW YORK, lOOOT.

Dated: New York, New York
July 5, 2017

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United St tes District Judge

 

 

